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19

20
     PATRICK CALHOUN, et al., on behalf of           Case No. 5:20-cv-05146-LHK
21 themselves and all others similarly situated,
                                                     GOOGLE LLC’S OPPOSITION TO
22                 Plaintiffs,                       PLAINTIFFS’ MOTION FOR CLASS
                                                     CERTIFICATION
23          vs.
                                                     The Honorable Lucy H. Koh
24 GOOGLE LLC,                                       Courtroom 8 – 4th Floor
                                                     Date: February 17, 2022
25                 Defendant.                        Time: 1:30 p.m.
                                                     Amended Complaint Filed: April 16, 2021
26
                                                     Trial Date: None Set
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 1   I.       PRELIMINARY STATEMENT

 2            Plaintiffs seek to certify a historic class of over 100 million Chrome users to recover billions

 3   in “unjust profits” from data Plaintiffs allege Google improperly collected. But no mass “injustice”—

 4   nor any cognizable harm—occurred. The record confirms that most Chrome users understand this

 5   routine data collection and are fine with it. The data collection is not a “secret”: Google discloses it in

 6   many ways before and after collection, and the practice is a frequent topic of public discourse. The

 7   hopelessly diverse proposed class—which includes millions of users who cannot even be identified—

 8   is subject to varying proof and defenses. It includes users (like Plaintiffs) who expressly consented to

 9   the data collection through Account Holder Agreements, and those who did not; users who read the

10   Chrome Privacy Notice (“CPN”) that is the basis for all claims, and those (like Plaintiffs) who did

11   not; users who were aware of the data collection because they reviewed Google’s many disclosures,

12   and those who did not; users who enabled privacy tools that blocked the data collection, and those

13   who did not; and users for whom the data was associated with their personal identities, and those for

14   whom it was not. A group trial could never accord due process to absent class members or to Google.

15            First, express consent is a defense to all claims but is not capable of class resolution. Millions

16   of class members—including Plaintiffs—expressly consented to Account Holder Agreements that

17   authorized the data collection. See Dkt. 395 (“Consent MSJ”). But millions of other class members

18   did not, precluding resolution of this defense on a class basis. Plaintiffs try to evade the Account

19   Holder Agreements by claiming the CPN represented that Chrome would prevent the data collection

20   by default, but they admit they never read the CPN. Their claims thus suffer core vulnerabilities not

21   shared by other class members. Express consent defeats typicality and predominance.

22            Second, implied consent defeats all claims, but also requires individualized resolution. Google

23   publishes a Privacy Policy and other disclosures that describe the disputed data collection. Many third-

24   party disclosures do the same. And for Google Account holders who choose to enable Web & App

25   Activity—like Plaintiffs—Google associated the data with their Accounts, where they could review

26   and delete it on their My Activity pages at any time. Google Account holders visit My Activity over

27   170 million times every week. Class members who did so know that using Chrome without Sync does

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 1   not prevent the disputed data collection. Indeed, there are so many disclosures informing users of the

 2   data collection that Plaintiffs in the related Brown case contend “it is common knowledge.”1

 3           Third, Plaintiffs’ six disparate causes of action each involve elements and defenses that cannot

 4   be proven class-wide, thus demanding individualized inquiries beyond consent.

 5           Fourth, Plaintiffs identify no damages theory that will reliably and fairly calculate damages

 6   classwide. Plaintiffs’ claims do not entitle them to the disgorgement of profits, restitution, or benefit

 7   of the bargain damages they seek. Even if such damages were available, it is impossible to arrive at a

 8   classwide methodology that will not over- and under-compensate class members, and avoid

 9   compensating uninjured class members, because Google does not profit from class members equally

10   (nor does it track profits by class member), and users do not value their data equally.

11           Fifth, a class action is not superior to other means of litigating the case—it would create an

12   administrative nightmare. For example, the proposed class includes millions of people who used

13   Chrome only in Basic mode—which means the data is associated at most with a pseudonymous ID

14   set in a delete-able cookie, not with users’ identities. Plaintiffs want Google to violate its strict policies

15   against identifying such users, but even if that were feasible—and appropriate in a case about

16   privacy—it would not identify the millions of class members whose identities Google simply does not

17   know because they do not have Google Accounts.

18           Finally, Plaintiffs offer no trial plan for claims on behalf of such a vast and sprawling class

19   that includes users who reviewed claim-defeating disclosures from varying sources and whose data

20   was collected (if at all) under an array of materially different circumstances. The Ninth Circuit has

21   cautioned that failure to propose a workable trial plan alone justifies denying certification.

22

23
     1
       See Brown v. Google, No. 5:20-cv-03664-LHK-SVK, Dkt. 136-1 (“Brown SAC”) ¶ 163 (“It is
     common knowledge that Google collects information about the web-browsing activity of users who
24   are not in ‘private browsing mode.’”). The two cases challenge the same data collection process.
     Compare Brown SAC ¶¶ 63-83 with Dkt. 163 (“Calhoun FAC”) ¶¶ 113-142. But the Calhoun
25   Plaintiffs’ theory—that using Chrome in any mode other than Sync mode (even Chrome’s default
     “Basic” mode) would prevent the challenged data collection—is contradicted by the Brown Plaintiffs’
26   theory—that one must use Chrome’s Incognito mode or another browser’s “private mode” to prevent
     the same data collection. Moreover, Incognito mode and Guest mode function identically in all
27   respects relevant here. Mardini Decl. ¶ 15. The Calhoun Plaintiffs’ excision of Incognito mode
     browsing from the case, while keeping in Guest mode browsing, is illogical.
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 1   II.     RELEVANT FACTUAL BACKGROUND

 2           A.     Plaintiffs Fail to Show the Alleged Interpretation of the CPN Was Shared By A
                    Single Chrome User—Including Themselves
 3
             Plaintiffs’ entire case requires interpreting two sentences in the CPN to mean that using
 4
     Chrome in any mode other than Sync2 somehow prevents Google from receiving data3 that Google
 5
     receives when users visit third-party websites that use Google’s web-services (e.g., Analytics, Ads,
 6
     embedded Maps, Fonts) (the “Services”). The Services receive the Data to enable Google to provide
 7
     the web-service requested by the site. Fair Decl. § A. Essentially, Plaintiffs aver a belief that Google
 8
     designed Chrome to block all Data transmissions to Google unless browsing in Sync mode. That
 9
     makes no sense. If true, the useful Services that people use every day on third-party websites would
10
     not function in Chrome. Ex. 14 (Chen Rep.) ¶¶ 82-86; Mardini Decl. § B.
11
             At the pleading stage, the Court found that “the Chrome Privacy Notice makes specific
12
     representations that could suggest to a reasonable user that Google would not engage in the alleged
13
     data collection.” Dkt. 142, at 14 (emphasis added). Plaintiffs bear the burden at certification to show
14
     this interpretation was shared by the putative class, but they offer no evidence on this issue. Plaintiffs
15
     concede they never read the CPN or Google’s other disclosures5—rather, their alleged expectations
16
     were based on their “gut.”6 Their experts conducted no surveys on actual Chrome users’ interpretation
17
     of the CPN or other relevant disclosures. Ex. 23 (Turow Tr.) at 35:7-12; Ex. 24 (John Tr.) at 84:17-
18
     18. And Plaintiffs’ expert Prof. John admits that “if consumers did read the [CPN], they would not
19
     2
20     Chrome has five modes: (1) Basic; (2) Sign-In; (3) Sync; (4) Guest; and (5) Incognito. See Dkt. 340-
     15 at Ex. 33 (“CPN”). “Unsynced” and “Not Synced” are terms contrived by Plaintiffs. Dkt. 340
21   (“Mot.”) at 1. These terms are not referenced in Google’s disclosures. Fair Decl. ¶ 4.
     3
       Google allegedly misappropriated data consisting of: (1) “cookie identifiers”; (2) “GET requests”;
22   (3) “POST communications”; (4) “IP address and User-Agent information”; and (5) “x-client-data
     identifier[s]” (hereafter, the “Data”). FAC ¶ 141.
23
     4
       All citations to “Ex.” refer to the Exhibits attached to the Declaration of Stephen A. Broome.
24   5
       See Ex. 6, at Response to Interrogatory 1; Ex. 8, at Response to Interrogatory 6; Ex. 10 at Responses
     to Interrogatories 1 and 6; Ex. 17 (Kindler Tr.) at 26:16-17, 31:14-32:4, 37:25-38:5, 48:24-49:16,
25   99:23-100:1, 226:23-227:5-9, 314:20-315:17; Ex. 18 (Crespo Tr.) at 31:12-25, 33:12-34:23, 84:24-
     86:24; Ex. 19 (Calhoun Tr.) at 20:14-21:4, 22:11-26:16, 65:22-66:24, 75:5-6; Ex. 20 (Henry Tr.) at
26   25:13-27:18, 32:19-33:5, 93:9-22, 119:20-121:22; Ex. 21 (Wilson Tr.) at 156:11-16, 206:2-8, 210:6-
     11, 281:10-282:13; Ex. 22 (Johnson Tr.) at 63:8-64:10, 67:1-16, 73:6-19.
27
     6
       Ex. 17 (Kindler Tr.) at 31:14-32:4, 226:23-227:9; Ex. 20 (Henry Tr.) at 26:9:24, 32:19-22.
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 1   come to one singular interpretation of what these notices mean.” Dkt. 340-17 (John Rep.) at 5.

 2          B.      The Data Google Receives Through the Services Is Unrelated to Sync

 3          In basing their claims on Chrome’s Sync mode, Plaintiffs mix apples and oranges. The Data

 4   Google receives to provide the Services (i.e., the Data collection Plaintiffs challenge), and the

 5   information sent to a user’s Google Account when she enables Sync mode, differ in nature, purpose,

 6   and process. Fair Decl. § A; Mardini Decl. § D; Chen Rep. ¶¶ 58-59. Sync mode allows a Chrome

 7   user to save information stored locally on her browser—e.g., bookmarks, tabs, passwords, history,

 8   auto-fill information—in a Google Account “so you may access it when you sign in and sync to

 9   Chrome on other computers and devices.” CPN; see also Mardini Decl. ¶ 17; Fair Decl § A.

10          The Services Plaintiffs challenge do not receive the information affected by Sync. See Ganem

11   Decl. ¶ 6; Berntson Decl. ¶ 8; Crossland Decl. ¶ 8; Chen Rep. §§ V.B.2, VII.A. Rather, Google

12   receives the Data at issue when a user—in any browser—visits a third-party website that uses Google

13   scripts to enable the Services. Chen Rep. § V; Fair Decl. ¶ 5. Those scripts cause the user’s browser

14   to send a resource request including a copy of the user’s GET or POST request to Google servers that

15   respond by providing the requested Service. FAC ¶ 129; Chen Rep. ¶¶ 48-50. But the Services are

16   browser-agnostic—i.e., they operate identically whether the user is in Chrome or another browser.

17   Nor are they impacted by whether a Chrome user is in Sync mode. The Services are designed to

18   function the same way, irrespective of the browser used. Chen Rep. § V; Fair Decl. ¶ 5. Even

19   Plaintiffs’ expert admits this. Ex. 25 (Smith Tr.) at 60:12-62:21.

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 1           The process at issue—directing resource requests to third-party web-service providers—has

 2   been ubiquitous on the internet for well over a decade. Chen Report § IV. Most popular websites use

 3   multiple third-party web services that employ the same process. Id. ¶ 50. Indeed, Plaintiffs’ counsels’

 4   law firms use such Google Services on their own websites. Id. ¶ 71; see also Exs. 47-48.

 5           C.      Plaintiffs and Millions of Class Members Expressly Consented to Google’s
                     Receipt of the Data
 6
             Each Plaintiff expressly consented to collection of the Data. See Consent MSJ. Tens of
 7
     millions of other class members did too. For example, eligible existing Account holders as of June
 8
     2016—including Plaintiffs Crespo, Henry, Wilson, and Johnson—were shown the Consent Bump
 9
     Agreement. Fair Decl. § B.1. The Consent Bump Agreement is less than two pages long and explains:
10
             When you use Google services like Search and YouTube, you generate data — things
11           like what you’ve searched for and videos you’ve watched. You can find and control
             that data in My Account under the Web & App Activity setting.
12
             With this change, this setting may also include browsing data from Chrome and
13           activity from sites and apps that partner with Google, including those that show ads
             from Google.
14

15   Id. ¶ 23 (emphasis added). The Consent Bump Agreement also linked to a FAQ page that states:

16           Many websites and apps use Google technologies to improve their content and
             services. For example, a website might use our advertising services (like AdSense) or
17           analytics tools (like partners who use Google Analytics to improve the ads they show).

18           As you use these sites, your web browser may send certain information to Google
             that may include the web address of the page that you’re visiting, your IP address,
19           or cookies previously set by the site or Google....

20   Id. ¶ 30 (emphasis added). The Consent Bump Agreement further discloses that “Google will use this
21   information to make ads across the web more relevant to you.” Id. ¶ 23. Several plaintiffs, and millions
22   of Google Account holders, reviewed this agreement and selected “I AGREE.” Id. ¶¶ 32-34, 39-43.
23   Millions of other Google Account holders did not see the Consent Bump Agreement because they
24   were not eligible, and millions more did not consent. Id. ¶¶ 32-38. Plaintiffs’ class definition sweeps
25   in all these differently situated users.
26           Users creating new accounts after June 2016—including Plaintiffs Calhoun, Kindler, Johnson,
27   and Wilson—were shown a New Account Creation Agreement that similarly disclosed Google’s
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 1   collection of the Data. Id. § B.2. The agreement is less than two pages and explains that Google

 2   processes information about users’ activity, “including information like the video you watched, device

 3   IDs, IP address, cookie data, and location[,] … when you use apps or sites that use Google services

 4   like ads, Analytics, and the YouTube video player.” Id. The agreement also specifies that Google may

 5   use this information to “[d]eliver personalized ads … both on Google services and on sites and apps

 6   that partner with Google.” Id. ¶ 49. Several plaintiffs, and millions of Google Account holders,

 7   reviewed this agreement and selected “I AGREE.” Id. § B.2.

 8            Neither Account Holder Agreement suggests that using Chrome without Sync mode enabled

 9   prevents Google from receiving the Data—because the Data collection is not affected by Sync. Id.

10   § A. Chrome users without Google Accounts are included in the broad putative class but did not see

11   the Account Holder Agreements.

12            D.      Google Account Holders Could Review and Delete the Data on Their My Activity
                      Pages Throughout the Class Period—and Millions of Them Did
13

14            The Account Holder Agreements directed Google Account holders to their My Activity pages
15   to review and manage the Data associated with their Accounts. Id. § D. Many other Google disclosures
16   do too. Id. In addition to these initial disclosures, Google routinely advises Account holders by email
17   to review their My Activity pages and conduct a “Privacy Checkup” that explains the information
18   associated with their Accounts. Id. ¶¶ 103-12. Plaintiffs received such reminder emails. Exs. 28-43.
19            On My Activity, Account holders who enabled Web & App Activity and agreed to include
20   “activity from sites, apps, and devices that use Google services”—as Plaintiffs did—can review and
21   delete information associated with their Google Accounts. Fair Decl. § D. That information includes
22   Data Google received when Account holders visited third-party websites using Google Services.7 My
23   Activity is a prominent tool that dispels any misconception that using Chrome without Sync prevents
24   Google’s Services from receiving the Data. On average, Google Account holders—including millions
25   of putative class members—visit My Activity 170 million times every week. Id. ¶ 85.
26

27   7
         Excerpts from Plaintiffs’ Web & App Activity are attached to the Fair Declaration as Exs. 89-99.
28
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            E.      Google’s Privacy Policy and Many Other Disclosures Explain Google Receives
 1                  the Data
 2          Not all Chrome users are Google Account holders (and not all Google Account holders use
 3   Chrome). But there are many Google and third-party disclosures notifying non-Account holders that
 4   Google receives the Data. Id. §§ C-F; Exs. 44-72. Google’s Privacy Policy, which has been viewed
 5   hundreds of millions of times, discloses the Data collection. Fair Decl. § C. Plaintiffs admit they “were
 6   legally deemed to have agreed” to the Privacy Policy upon establishing their Accounts. Ex. 11, at
 7   Request 1B. But many Chrome users without Google Accounts would have reviewed it too.
 8          Throughout the Class Period, the Privacy Policy disclosed that Google receives the Data. For
 9   example, the operative Privacy Policy when Plaintiffs filed suit explained that Google receives the
10   precise categories of Data at issue through “[p]roducts that are integrated into third-party apps and
11   sites, like ads and embedded Google Maps.” Fair Decl. § C. The Privacy Policy also explained that
12   Google collects information about users’ “[a]ctivity on third-party sites and apps that use our
13   services,” and distinguishes such Data from “Chrome browsing history you’ve synced with your
14   Google Account.” Id. The Privacy Policy states that Google may use the Data to deliver “personalized
15   ads” or “more relevant…ads.” Id.
16          Google also provides an online Help Center containing articles that (1) explain Google
17   receives the Data when users (in any browser) visit websites that use the Services, and (2) distinguish
18   that Data collection from the information Google receives when a Chrome user enables Sync. Id.
19   ¶¶ 93-101. Indeed, the CPN links to one such article, which received nearly 35 million views from
20   U.S. Internet users during the Class Period. Id. ¶ 98. In addition, Google requires websites using its
21   Services to provide a privacy policy that discloses their use of the Services. Id. § E. Many websites
22   comply by linking to a page titled “HOW GOOGLE USES INFORMATION FROM SITES OR APPS
23   THAT USE OUR SERVICES.” Id. ¶¶ 68, 114, 117. That page discloses the Data collection too:
24          [W]hen you visit a website that uses advertising services like AdSense, including
            analytics tools like Google Analytics, or embeds video content from YouTube, your
25          web browser automatically sends certain information to Google. This includes the
26          URL of the page you’re visiting and your IP address. We may also set cookies on your
            browser or read cookies that are already there.
27
     Id. ¶ 68. This page has also been viewed millions of times. Id. ¶ 75.
28
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 1           These are the most prominent disclosures, but there are others. Google even included a tool in

 2   Chrome that allows users to view the third-party domains—including Google domains—receiving

 3   Data on the websites they visit. Id. § F; Chen Rep. § VI. And myriad news articles discuss Google’s

 4   data collection practices. Exs. 49-72. None of these disclosures, sources, or articles in any way suggest

 5   that using Chrome without Sync prevents the Data collection.

 6           F.     Prof. Erdem’s Report Confirms Class Members Generally Understand Google
                    Receives the Data
 7
             Unlike Plaintiffs’ consumer expectations experts—who conducted no surveys or research—
 8
     Google’s expert, Prof. Tulin Erdem, surveyed actual Chrome users and confirmed the following:
 9
     ●       Chrome users believe and understand Google receives their IP addresses, referrer URLs, and
10           cookies while browsing the Internet and this expectation is not affected by Sync being on or
             off, or whether users were presented with relevant privacy policies (Ex. 2 (Erdem Rep.) § VI);
11
     ●       Chrome users are extremely likely to continue using Chrome after being presented with the
12           CPN and Privacy Policy, and modifications to those disclosures to address Plaintiffs’ alleged
             interpretations had no material impact (id. § VII); and
13
     ●       Chrome users strongly believe that Google definitely receives the Data from websites that
14           partner with Google after reviewing the Account Holder Agreements (id. § VIII).

15           These survey results confirm that most class members already understand that Google receives

16   the Data (regardless of Sync mode), are fine with it, and would not change their use of Chrome.

17           G.     Many Factors Affect Whether Google’s Services Receive the Data and How the
                    Data Is Used
18
             Although the Services are browser-agnostic and thus unaffected by whether the user is in
19
     Chrome (or has Sync enabled), whether a Google Service receives a given category of Data depends
20
     on many other factors and varies across class members. Ex. 5 (Zervas Rep.) § III.A.1. For example,
21
     Analytics and Ad Manager each offer features that the website can enable to prevent Google from
22
     collecting or using certain categories of the Data. Bernston Decl. § B.1; Ganem Decl. § B.1. In
23
     addition, Chrome users can enable settings and tools that prevent Google from receiving certain
24
     categories of the Data. Ganem Decl. §§ B.2-3; Berntson Decl. § B.2; Zervas Rep. § III.A.1. These
25
     include enabling cookie blockers,8 disabling Ads Personalization, using an Analytics Opt-Out
26

27   8
      Plaintiffs assert that the “Court noted in its MTD Order, [that] Google acted in bad faith, including
     by circumventing cookie blockers.” Mot. at 13. At the motion to dismiss stage, the Court “noted” only
28
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 1   extension, or using ad blockers or VPNs. Id. Plaintiffs’ expert admits that “31% of internet users” use

 2   VPNs, and “popular ad blockers provide the same services: hiding the user’s IP address.” Dkt. 340-

 3   18 (Mangum Rep.) ¶¶ 84-88. In addition, some widely used Services do not receive certain categories

 4   of the Data (e.g., cookies, X-Client-Data headers). Crossland Decl. ¶ 10; Ganem Decl. ¶ 9.

 5          Google’s use of the Data it receives also varies by Service. Certain Services receive the Data

 6   solely to provide the Service. Crossland Decl. ¶¶ 11, 13; Cassidy Decl. ¶¶ 6, 8. These Services do not

 7   (i) associate the Data with an individual’s Account or identity, (ii) share the Data with other Services,

 8   or (iii) use the Data for advertising. Id. Thus, whether Google collected the Data from a class member

 9   or used it for profit—the predicates for liability and damages—depends on which Services the user

10   interacted with, and the tools and features enabled by the user and the websites using the Services.

11          H.      Many Class Members Cannot Be Identified Because the Data Is Not Associated
                    with their Identities
12
            For Chrome users in the default “Basic” mode—e.g., non-Google Account holders or users
13
     who browse the internet while signed-out of their Google Accounts—Google does not link the Data
14
     to their Accounts or information that “personally identifies” a user.9 Monsees Decl. §§ A-B. To the
15
     contrary, Google implements protocols and processes to ensure such users are not identified and that
16
     the Data cannot be “reasonably linked” to information that “personally identifies” a user. Id. Further,
17
     Google does not even possess information that could be used to identify Chrome users who do not
18
     have Google Accounts. This means such users cannot be identified to confirm class membership. Id.;
19
     Plaintiffs’ allegation, which their experts now admit is false. See, e.g., Ex. 24 (Shafiq Tr.) at 16:15-
20   19 (admitting that Chrome’s third-party cookie blocker feature blocks third-party cookies).
21
     9
       Google’s Privacy Policy defines “Personal Information” as “information that you provide to us
     which personally identifies you, such as your name, email address, or billing information, or other
22   data that can be reasonably linked to such information by Google, such as information we associate
     with your Google Account.” Monsees Decl. ¶ 5. At the motion to dismiss stage, the Court relied on a
23   CCPA definition of “Personal Information” in interpreting the Privacy Policy and CPN. Dkt. 142, at
     15. Respectfully, that was error. The CCPA uses two definitions of “Personal Information,” but makes
24   clear these definitions apply solely “[f]or purposes of” the respective title or section, not for purposes
     of all California law and privacy policies governed by California law. Cal Civ. Code §§
25   1798.81.5(d)(1), 1798.140(v)(l). Moreover, the CCPA “does not contain an express retroactivity
     provision.” Gardiner v. Walmart Inc., 2021 WL 2520103, at *2 (N.D. Cal. Mar. 5, 2021). The personal
26   information definition in Google’s Privacy Policy existed years before the CCPA’s 2020 effective
     date. See, e.g., Dkt. 340-15 at Ex. 7 (June 28, 2016 Privacy Policy). The CCPA requires Google to
27   include CCPA disclosures in its Privacy Policy, but the statute does not replace Google’s definitions.
     Ex. 3 (Schwartz Rep.) ¶ 47.
28
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 1   Zervas Rep. §§ III.A.4, III.B.2. It also means the Data Google receives when these class members use

 2   Chrome to visit sites that use the Services is not “personal information.” Schwartz Rep. § V.B.

 3   Plaintiffs’ proposed method to identify signed-in users is not reliable either. Schumann Decl. ¶¶ 2-8;

 4   Zervas Rep. § III.B.2.a.

 5   III.   ARGUMENT

 6          A plaintiff must “actually prove—not simply plead—that his putative class satisfies each

 7   requirement of Rule 23.” Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 275 (2014). Rule

 8   23 does not “establish an entitlement to class proceedings” but “imposes stringent requirements for

 9   certification that in practice excludes most claims.” Am. Ex. Co. v. Italian Colors Rest., 570 U.S. 228,

10   234 (2013). The Court must conduct a “rigorous analysis” of the Rule 23 prerequisites. Wal-Mart

11   Stores, Inc. v. Dukes, 564 U.S. 338, 350-51 (2011).

12          A.      Express Consent Is Outcome-Determinative and Not Common Across the Class—
                    Defeating Typicality and Predominance
13
            The Court has recognized that consent is a defense to all claims. Dkt. 142, at 12 & n.3.
14
     Plaintiffs’ claims are not typical of the broader class because, as shown in the Consent MSJ and
15
     Section II.C above, Plaintiffs expressly consented to Account Holder Agreements that disclose the
16
     Data collection in terms that exceed the specificity the Ninth Circuit found sufficient to obtain consent
17
     under substantively identical circumstances. See Smith v. Facebook, Inc., 745 F. App’x 8, 9 (9th Cir.
18
     2018). But this defense cannot be resolved for the class because the arguments advanced in the
19
     Consent MSJ do not apply to every class member. The Account Holder Agreements are not a defense
20
     to claims by: (1) the millions of non-Account holders who were never shown those agreements; (2)
21
     the millions of class members with Accounts as of June 2016 who were never shown the Consent
22
     Bump Agreement because they were not eligible for it (e.g., because they had already enabled the
23
     settings); and (3) the millions of class members who were shown the Consent Bump Agreement and
24
     did not consent. See Fair Decl. ¶¶ 34-38.
25
            “[C]lass certification is inappropriate where a putative class representative is subject to unique
26
     defenses which threaten to become the focus of the litigation.” Hanon v. Dataproducts Corp., 976
27
     F.2d 497, 508 (9th Cir. 1992); see also In re Snap Inc. Sec. Litig., 2019 WL 2223800, at *2 (C.D. Cal.
28
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 1   Apr. 1, 2019) (“[T]here is no requirement at this early stage to prove a defense, only to show a degree

 2   of likelihood that a unique defense might play a significant role at trial.”). Even if the Court were to

 3   find Google’s Consent MSJ presented fact disputes for trial, Plaintiffs’ express consent to the Account

 4   Holder Agreements—and their ability to review on their My Activity pages the very information they

 5   allege Google “secretly” intercepted—is a defense that will be a central focus of the litigation, to the

 6   detriment of class members not subject to the defense. This defeats typicality and predominance.

 7          The CPN cannot not override Plaintiffs’ and other class members’ express consent to the

 8   Account Holder Agreements because Plaintiffs admit they never read the CPN, and their experts

 9   conclude that most Chrome users would not have either.10 Turow Rep. ¶ 28; John Rep. at 6-7.11

10          B.      Implied Consent Implicates Myriad Individual Issues That Defeat Predominance,
                    Typicality, and Superiority
11
            “Individual issues regarding [implied] consent are likely to overwhelmingly predominate over
12
     common issues” where “there is a panoply of sources from which [] users could have learned of
13
     Google’s interceptions.” In re Google Inc. Gmail Litig., 2014 WL 1102660, at *17 (N.D. Cal. 2014);
14
     see also Backhaut v. Apple Inc., 2015 WL 4776427, at *14 (N.D. Cal. Aug. 13, 2015) (individualized
15
     issues of implied consent predominated where “numerous sources of information, including
16
     disclosures by Defendant, … could have put some proposed class members and senders of
17
     ‘intercepted’ communications on notice of the alleged interceptions… The court would therefore have
18
     to determine, for each individual class member, the circumstances under which the proposed class
19
     member … was or was not exposed to these various sources of information.”).
20
            Here, a “panoply of sources” provided Chrome users with notice of the Data collection: (1)
21
     the Account Holder Agreements;12 (2) Google Account holders’ My Activity pages; (3) the Privacy
22
     10
        Plaintiffs argue (Mot. at 1) that the agreements do not “override” their alleged interpretation of the
23   CPN that “[t]he default is that Chrome will not send and Google is not permitted to collect users’
     personal information unless the user finds the Sync toggle and enables it.” It would not make sense
24   for Google to address Sync in these agreements because Sync does not affect the disputed Data
     collection, and Google’s agreements would be unwieldy and incomprehensible if they undertook to
25   identify all browsers, modes, or settings that do not affect Google’s collection of the Data.
     11
26      See also Ex. 24 (John Tr.) at 120:19-121:12, 122:3-6, 125:11-19, 126:13-17, 250:7-9, 258:13-15,
     278:24-279:3; Ex. 23 (Turow Tr.) at 305:4-11, 305:25-306:6.
27   12
        Plaintiffs may argue that the Account Holder Agreements cannot obtain express consent. They
     testified in deposition that, to obtain consent, Google should have called them on the phone or
28
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 1   Policy; (4) Help Center articles and other pages linked to the Privacy Policy; (5) Chrome’s Developer

 2   Tools; (6) third-party disclosures (including on sites Plaintiffs visited); (7) news articles; and (8)

 3   “common knowledge.” Fair Decl. §§ B-F; Exs. 6, 10, 28-77; Brown SAC ¶ 163. Google’s

 4   disclosures have been reviewed millions of times. Fair Decl. ¶¶ 75, 85, 98, 101. And Prof. Erdem’s

 5   report confirms a majority of Chrome users understand Google receives the Data and that it is not

 6   affected by using Chrome without Sync. Erdem Rep. §§ VI, VIII. The CPN cannot override implied

 7   consent—neither the named Plaintiffs nor most class members ever read it.

 8          Thus, as the Court reasoned in denying class certification under similar circumstances: “A

 9   fact-finder, in determining whether Class members impliedly consented, would have to evaluate to

10   which of the various sources each individual user had been exposed and whether each individual

11   ‘knew about and consented to the interception’ based on the sources to which she was exposed….

12   This fact-intensive inquiry will require individual inquiries into the knowledge of individual users.”

13   Gmail, 2014 WL 1102660, at *18; see also Campbell v. Facebook Inc., 315 F.R.D. 250, 266 (N.D.

14   Cal. 2016) (“individual issues of implied consent do predominate … due to the media reports on the

15   practice” because “[e]ven if Facebook hid its practice, as long as users heard about it from somewhere

16   and continued to use the relevant features, that can be enough to establish implied consent.”); Torres

17   v. Nutrisystem, Inc., 289 F.R.D. 587, 594-95 (C.D. Cal. 2013) (denying certification because “[t]he

18   issue of whether class members consented … would also require a detailed factual inquiry for each

19   class member” where some putative class members may have “expected the calls to be recorded”).

20          C.      Plaintiffs’ Six Causes of Action Require Even More Individualized Inquiries

21          The predominance inquiry “begins ... with the elements of the underlying cause of action.”

22   Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011). “The focus of the inquiry ...

23
     advertised on TV. Ex. 21 (Wilson Tr.) at 280:8-14; Ex. 22 (Johnson Tr.) at 275:12-276:11. That is not
24   the law. See Smith, 745 F. App’x at 8-9 (holding similar disclosures sufficient to obtain consent to
     similar data collection and use). In any event, Plaintiffs cannot credibly deny that the agreements
25   would at minimum place many class members on notice of the disputed data collection such that they
     impliedly consented. Plaintiffs testified they would only read a disclosure that described the data
26   collection if it was concise. See, e.g., Ex. 17 (Kindler Tr.) at 315:18-316:8; Ex. 18 (Crespo Tr.) at
     123:13-25; Ex. 19 (Calhoun Tr.) 71:14-19, 101:6-24. For precisely that reason, the Account Holder
27   Agreements are no more than two pages and describe the disputed Data collection in succinct terms
     understandable to the average user.
28
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 1   varies depending on the nature of the underlying claims.” Walker v. Life Ins. Co. of the Sw., 953 F.3d

 2   624, 630 (9th Cir. 2020).

 3                  1.      Breach of Contract

 4          Plaintiffs’ contract claim cannot be certified for two more reasons. First, Plaintiffs fail to show

 5   “common proof” that Google breached a uniform contract. Unlike in Williams v. Apple, where the

 6   breach turned on one sentence of a single document stating, “your content will be automatically sent

 7   to and stored by Apple,” 338 F.R.D. 629, 634 (N. D. Cal. 2021), here Google’s agreements with class

 8   members include several documents and statements about the Data collection that are not uniform for

 9   all class members and evolved throughout the Class Period.

10          Plaintiffs focus on only one piece of their alleged contract with Google—the CPN they never

11   read—to contend “common proof” of breach exists. But that alleged breach turns on the meaning of

12   the term “personal information” as used in the CPN. See FAC ¶¶ 355-56. There Google explained the

13   term in a way ordinary consumers would understand—information used “to help you fill out forms or

14   sign into sites you visit.” None of the Data at issue fits that definition. Plaintiffs argue (Mot. 6) the

15   term should be construed consistent with one of the two definitions in the CCPA. There is no basis

16   for that approach. Schwartz Rep. § IV.B.3. Plaintiffs’ experts admit the CCPA definitions are not how

17   most users would understand the term, and that “users would not come to one singular

18   interpretation.”13 Plaintiffs even admit they do not understand the term “personal information” to

19   encompass the Data at issue. To the contrary, they understand the term in its ordinary sense—i.e.,

20   information that uniquely identifies them as individuals, such as social security numbers, EIN

21   numbers, email addresses, or tax information.14 Thus, even assuming the task at hand is to “seek to

22
     13
23      Ex. 23 (Turow Tr.), at 149:11-150:24; Ex. 24 (John Tr.), at 251:21-252:6; Dkt. 340-17 (John Rep.)
     at 5.
24   14
        Ex. 22 (Johnson Tr.) 227:1-16 (“PI associated with [your] Google Account” means “e-mail
     addresses, tax information, EIN numbers. I talked with a lot of contractors and send communications
25   with a lot of contractors. So a lot of communications include very sensitive information. So that’s
     other PI associated.”); Ex. 17(Kindler Tr.) at 311:15-312:7 (“[t]he question that I...typed in the search
26   bar” and her IP address were not “personal information”); Ex. 18 (Crespo Tr.) at 29:18-30:3
     (“Personal information to me is anything that identifies, you know, like preferences or personal habits
27   or sensitive information. … So anything that could be traced back to me I consider personal
     information.”); Ex. 20 (Henry Tr.) at 23:1-6 (personal information is “addresses, browser history, and
28
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 1   effectuate the reasonable expectations of the average member of the public who accepts” the CPN

 2   and Google’s other disclosures, Williams, 338 F.R.D. at 638 (emphasis added), Plaintiffs offer no

 3   proof—let alone common proof—that the “average member of the public” would adopt their

 4   interpretation of “personal information” in the CPN.15 Plaintiffs therefore cannot show a uniform

 5   breach. Cf. Vizcarra v. Unilever U.S., Inc., 2021 WL 5370754, at * 12 (N.D. Cal. Oct. 27, 2021)

 6   (denying class certification where plaintiff “pointed to no common evidence showing that consumers

 7   understood” the term at issue as plaintiffs alleged, and plaintiff’s survey expert “did not test the effect

 8   of” the term on consumers’ expectations).

 9          Second, even if the CPN’s reference to “personal information” were construed to include any

10   Data “reasonably linkable” to a user’s identity, Plaintiffs still fail to show a “uniform breach.”

11   Plaintiffs’ expert Dr. Shafiq admitted that individualized fact-intensive inquiries are required to

12   determine whether any particular piece of data Google receives—e.g., IP address, cookies—is

13   “personally identifiable information.”16 See also Zervas Rep. § III.B.3. As explained in Section II.H,

14   when a Chrome user is not signed-in to a Google Account, the Data is linked to a pseudonymous and

15   delete-able cookie, not with information that identifies the user. Monsees Decl. §§ A-B. And some

16   Services—e.g., Fonts—do not even associate the Data with cookies. Crossland Decl. ¶ 10. In these

17   scenarios, the Data is not “personal information.” Schwartz Rep. § V.B. And Google’s receipt of it

18   cannot breach the alleged contract. Individualized issues thus pervade the breach of contract claim.

19                  2.      Good Faith and Fair Dealing

20          Good faith and fair dealing claims are duplicative unless they “go beyond the breach of

21

22   those types of things”); Ex. 21 (Wilson Tr.) at 35:12-18 (“identifying markers” include “their Social
     Security number, their name, their address.”).
23   15
        For this reason, Plaintiffs misplace reliance (Mot. 12-13) on Roley v. Google LLC, 2020 WL
     8675968 (N.D. Cal. July 20, 2020). There the court found that “common evidence will inform
24   interpretation of the alleged contract’s terms” because “[b]y necessity, all class members will have
     been exposed to the same statements made in the Photo Impact Email” sent to all class members.
25   Roley, 2020 WL 8675968, at *10 (emphasis added). Not so here, where Plaintiffs admit they and
     many class members were not exposed to the CPN.
26   16
        Ex. 26 (Shafiq Tr.) 149:9-150:17 (IP address is not PII if multiple users share the same IP address
27   or IP address is for an internet cafe); id. 161:14-162:4 (whether cookie is PII depends on whether
     cookie value changes and “whether Google servers maintain a mapping of the changed cookie”).
28
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 1   contract theories.” Dkt. 142, at 34 (quoting In re Facebook, Inc. Internet Tracking Litig., 956 F.3d

 2   589, 611 (9th Cir. 2020)). The Court permitted this claim only based on Plaintiffs’ allegation that

 3   “Google acted in bad faith, such as by circumventing cookie blockers.”17 Id. This allegation is

 4   unsupported by evidence.18 But even if it were, Plaintiffs cannot show cookie blocker usage is

 5   common to the expansive class. The sole plaintiff who claimed to have used cookie blockers has been

 6   dismissed. See FAC ¶¶ 189-191 (Randolph); Dkt. 285. The remaining Plaintiffs admit they did not

 7   use cookie blockers. See Exs. 12-13, at Request 13; Ex. 14, at Interrogatory 17. As a result: (1) there

 8   is no class representative for this claim,19 and (2) even if there were, individualized issues would

 9   predominate because determining which class members used cookie blockers, and whether cookie

10   blockers were in fact circumvented, would require mini-trials. Cf. Williams, 338 F.R.D. at 641

11   (“Plaintiffs have failed to meet their burden to show by ‘a preponderance of the evidence’ that … the

12   number of uninjured class members would be ‘de minimis.’”).

13                  3.      Intrusion Upon Seclusion

14          In considering an intrusion claim, “courts generally ‘ask whether: (1) there exists a reasonable

15   expectation of privacy, and (2) the intrusion was highly offensive.” Dkt. 142, at 26 (citing Facebook

16   Tracking, 956 F.3d at 601). Even assessed from the perspective of “an objectively reasonable person”

17   (Mot. 14), this claim cannot be certified given the diversity of users in the broad proposed class.

18          Reasonable Expectation of Privacy. Plaintiffs argue that “[i]n Facebook [] Tracking, the Ninth

19   Circuit explained that the ‘critical fact was that the online entity represented to the plaintiffs that

20   17
        Plaintiffs for the first time contend Google also breached the implied duty by “creating profiles used
21   to target users with behavioral advertising.” Mot. 13. This theory fails because it is coextensive with
     their breach of contract theories. And as explained in Google’s pending Consent MSJ, Plaintiffs
22   expressly consented to Google’s use of their activity to “make ads across the web more relevant for
     you” and to “[d]eliver personalized ads, ...both on Google services and on sites and apps that partner
23   with Google.” Dkt. 395-1 (MSJ Fair Decl.) ¶¶ 19, 43.
     18
        Plaintiffs contend (Mot. 13) their experts “performed tests showing that cookie blockers did not
24   work in Chrome.” But Mr. Smith and Prof. Shafiq state only that when users enabled the third-party
     cookie blocking feature, Google continued to receive first-party cookies. Ex. 26 (Shafiq Tr.) 116:15-
25   19; Dkt. 340-16 (Smith Rep.) ¶ 77. That operation is not cookie blocker circumvention. See Zervas
     Rep. § III.A.2.
26   19
        Even if Plaintiffs succeed in belatedly adding new proposed plaintiffs who allege they utilized
27   cookie blockers, Dkt. 302-4 (PSAC) ¶¶ 182-184, 188-191, individualized issues would still
     predominate this claim because the existing Plaintiffs (and untold numbers of class members) did not.
28
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 1   their information would not be collected, but then proceeded to collect it anyway,” and “[h]ere,

 2   Google has taken data that it promised it would not collect.” Mot. 14; see also Dkt. 142 (MTD Order),

 3   at 28 (“Plaintiffs … could have reasonably assumed that Google would not receive their data while

 4   they were using Chrome without sync based on Google’s representations” in the CPN) (emphasis

 5   added). But Plaintiffs never read the CPN, and their experts opined most class members did not either.

 6   Such class members could not have harbored the alleged expectation of privacy—a conclusion

 7   confirmed by Prof. Erdem’s report.20 Erdem Rep. § VI.

 8          Plaintiffs’ assertion (Mot. 14) that their “experts Joseph Turow and Leslie John propose peer-

 9   reviewed methodologies to explain to the jury that reasonable consumer expectations” can be

10   “calculated through general surveys” is baseless. Neither expert conducted a survey or any research

11   for this case—in fact, they rejected the idea. Turow testified “I don’t think a survey would be useful”

12   and John testified that a survey is not “necessary.” Ex. 24 (Turow Tr.) 35:7-21; Ex. 24 (John Tr.), at

13   84:17-18, 135:16-136:25; see also Google’s Motion to Strike Profs. John and Turow’s Reports.

14          Highly Offensive. “Determining whether a defendant’s actions were ‘highly offensive to a

15   reasonable person’ requires a holistic consideration of factors such as the likelihood of serious harm

16   to the victim, the degree and setting of the intrusion, the intruder’s motives and objectives, and

17   whether countervailing interests or social norms render the intrusion inoffensive.” Facebook

18   Tracking, 956 F.3d at 606. These individualized factors cannot be assessed for the class en masse,

19   which includes the following diverse groups of users:

20   ●      The millions of class members who were aware of the data collection in light of the disclosures
            and tools described above and in the Fair Declaration.
21
     ●      The millions of Google Account holders who visit their My Activity pages, where they can
22          see that Google obtains records of their activity when they visit third-party sites that use
            Google’s Services notwithstanding the fact that they have not enabled Sync.
23
     ●      The millions of Chrome users who, according to the Brown Plaintiffs, allegedly believed it
24

25   20
       For certain categories of Data at issue—e.g., IP address—the law is clear there is no privacy interest.
26   See Heeger v. Facebook, Inc., 509 F. Supp. 3d 1182, 1189 (N.D. Cal. 2020) (“there is no legally
     protected privacy interest in IP addresses”); United States v. Forrester, 512 F.3d 500, 503 (9th Cir.
27   2008) (“IP addresses are not merely passively conveyed through third party equipment, but rather are
     voluntarily turned over in order to direct the third party’s servers.”).
28
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            was necessary to use Incognito mode to prevent the exact same Data collection process.
 1
     ●      The millions of Google Account holders who turned Ads Personalization off, such that Google
 2          did not use the Data for advertising purposes.
 3   ●      The millions of Chrome users who enable Chrome’s cookie blockers to prevent tracking.
 4   ●      The millions of Chrome users who use VPNs or other privacy tools that prevent their full IP
            addresses and similar information from being sent to Google (and other service providers).
 5
     ●      The millions of Chrome users who used Basic mode such that the Data Google received was
 6          associated at most with a cookie (if cookies were not blocked) and not their identities.21
 7   ●      The millions of Chrome users who used Guest mode, such that the Data Google received was
            associated only with a cookie that was deleted immediately upon closing the session. See
 8          Mardini Decl. ¶¶ 15-16.
 9          Thus, the “degree and setting of the intrusion,” among other factors relevant to this element,

10   varies significantly across the class and cannot be adjudicated for the class as a whole. Cf. Pollack v.

11   Foto Fantasy, Inc., 2010 WL 11595486, at *4 (C.D. Cal. July 15, 2010) (denying certification in part

12   because the “highly offensive” element would require the Court “to ascertain each customer’s actual

13   activities and behavior…, evaluate the personal or intimate nature of this behavior, and consider each

14   customer’s individual expectation of privacy.... The jury would then have to consider similar factual

15   issues to determine the amount of damages due to each putative class member”).

16          Moreover, Plaintiffs Crespo, Henry, Johnson, and Wilson admit they continue to use

17   Chrome—and not just for work—fully aware of the Data collection.22 They cannot credibly contend

18   that conduct to which they knowingly and voluntarily subjected themselves is “highly offensive.”

19                  4.      CIPA

20          Plaintiffs ignore essential elements of CIPA that involve individualized inquiries. First,

21   Plaintiffs fail to show Google uniformly intercepted the “contents” of communications. CIPA § 631.

22   Plaintiffs allege Google intercepted IP addresses, GET requests that reflect URLs (i.e., referrer

23
     21
        See Facebook Tracking, 956 F.3d at 603 (“Plaintiffs allege Facebook obtained a comprehensive
24   browsing history of an individual.”) (emphasis added); In re Google Assistant Priv. Litig., 457 F.
     Supp. 3d 797, 831 (N.D. Cal. 2020) (“relevant factors [in assessing offensiveness of the privacy
25   intrusion] include . . . the degree to which the recordings are anonymized”); Moreno v. San Francisco
     Bay Area Rapid Transit Dist., 2017 WL 6387764, at *8 (N.D. Cal. Dec. 14, 2017) (sharing plaintiffs’
26   “anonymous client id … and location” is not “highly offensive”).
     22
27      See, e.g., Ex. 18 (Crespo Tr.) 49:13-16, 51:21-23; Ex.20 (Henry Tr.) 22:7-17; Ex. 21 (Wilson Tr.)
     at 56:18-21; Ex. 22 (Johnson Tr.) 44:11-45:10, 131:20-134:13.
28
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 1   headers), cookies, and other information they claim could be used to identify them. FAC ¶¶ 141. The

 2   Ninth Circuit has held such information is not “content” for purposes of a wiretapping claim. In re

 3   Zynga Privacy Litig., 750 F.3d 1098, 1102, 1107 (9th Cir. 2014).23 In Zynga, the Ninth Circuit held

 4   that IP addresses and “referer header information … [that] included the user’s Facebook ID and the

 5   address of the webpage from which the user’s HTTP [] request was sent … does not meet the

 6   definition of ‘contents’ because these pieces of information are not the ‘substance, purport or

 7   meaning’ of a communication.24 Id. at 1107.

 8          Although Plaintiffs also allege that, “in many cases,” Google intercepted “the contents of

 9   users’ POST communications” FAC ¶141(c)—which theoretically could include search terms or

10   messages—Plaintiffs do not and cannot show Google received such information classwide. Whether

11   Google received POST requests containing “content” from class members requires individualized

12   inquiries into whether: (1) the user visited a website that uses a Service that collects POST requests;

13   (2) the user made a POST request (which is not automatic) on that site; and (3) the particular POST

14   request contains information that qualifies as “content.” See Zervas Rep. § IV; see also Brodsky, 445

15   F. Supp. 3d at 127; McCoy v. Alphabet, Inc., 2021 WL 405816, at *14 (N.D. Cal. Feb. 2, 2021).

16          Second, Plaintiffs fail to show that, for the entire putative nationwide class, the alleged

17   interceptions occurred while the communications were “in transit ... within this state.” CIPA § 631.

18   None of the Google servers that receive the Data at issue are in California. See Ex. 14. Whether the

19   interception occurred “within this state” would require individualized inquiries, such as, at a

20   minimum, whether the user was in California at the time of the alleged communication.

21
     23
        In Facebook Tracking, the Ninth Circuit did not “opine whether the Plaintiffs adequately pleaded
22   the other requisite elements of” their CIPA claim—such as whether the information Facebook
     allegedly intercepted was “content”—“as those issues are not presented on appeal.” 956 F.3d at 608.
23   Moreover, in analyzing the intrusion claim, the Ninth Circuit distinguished the ordinary URLs at issue
     in Zynga—and here—from the information at issue there: “Unlike the URLs in Zynga, which revealed
24   only that a Facebook user had clicked on a link to a gaming website, Plaintiffs allege that the URLs
     in the instant case could emanate from search terms inputted into a third-party search engine.” Id.at
25   605 (emphasis added). Such search term inquiries are not at issue, and would not apply classwide.
     24
26      See also Zynga, 750 F.3d at 1107 (rejecting argument that IP address and browsing history
     information are “content”); Brodsky v. Apple Inc., 445 F. Supp. 3d 110, 127 (N.D. Cal 2020) (“name,
27   address, and subscriber number or identity of a subscriber or customer,” and “user names, passwords,
     and geographic location information are not contents”).
28
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 1                  5.      Statutory Larceny and UCL

 2          Plaintiffs’ larceny and UCL claims cannot be certified because there is no evidence of reliance

 3   on Google’s alleged misrepresentations in the CPN. Plaintiffs’ larceny claim is premised on Google’s

 4   alleged “theft” of “property ‘by false … representation or pretense.’” Mot. 17. That claim “requires []

 5   that (1) the defendant made a false pretense or representation to the owner of property; (2) with the

 6   intent to defraud the owner of that property; and (3) the owner transferred the property to the defendant

 7   in reliance on the representation.” People v. Williams, 57 Cal. 4th 776, 787 (2013) (emphasis

 8   added).25 Plaintiffs’ UCL claim is similarly based on Google’s alleged “misrepresentations” in the

 9   CPN. FAC ¶¶ 414-15. “The California Supreme Court has interpreted [the UCL] to mean that named

10   plaintiffs, but not absent ones, must show proof of ‘actual reliance’ at the certification stage.” See

11   Walker, 953 F.3d at 630 (emphasis added).26 This is true “under all three prongs of the UCL where

12   such claims are premised on misrepresentations.” Backhaut, 74 F. Supp. 3d at 1047-48.

13          There is no reliance here. Plaintiffs admit they did not review the CPN or rely on any other

14   Google disclosures.27 And Plaintiffs’ experts opine that most Chrome users would not review these

15   sources either.28 These admissions foreclose Plaintiffs’ ability to satisfy the typicality and

16

17
     25
        The remaining elements of this claim fundamentally contradict the core theory of the complaint.
18   The claim requires evidence of a “consensual transfer,” Williams, 57 Cal. 4th at 788, while Plaintiffs
     allege Google collected the Data “without [their] consent,” FAC ¶ 403; and the claim requires that
19   Plaintiffs knowingly transferred “title” to the alleged “property” to Google. The Data is not “property”
     because it is not “capable of exclusive possession or control.” Kremen v. Cohen, 337 F.3d 1024, 1030
20   (9th Cir. 2003).
     26
21      See also Berger v. Home Depot USA, Inc., 741 F.3d 1061, 1069-70 (9th Cir. 2014) (affirming denial
     of certification of UCL claim where the plaintiff “has not alleged that each individual was exposed to
22   the same misrepresentations and deceptions”); Pfizer Inc. v. Sup. Ct., 182 Cal. App. 4th 622, 632,
     (2010) (rejecting “proposition that a consumer who was never exposed to an alleged false or
23   misleading advertising or promotional campaign is entitled to restitution”); Opperman v. Path, Inc.,
     84 F. Supp. 3d 962, 976 (N.D. Cal. 2015) (“a [UCL] plaintiff must allege that she actually saw or
24   heard the defendant’s advertising campaign”).
     27
        See supra note 5. The only Google statements that Plaintiffs claim “all Class members are exposed
25   to” are those in the “First Run Experience” screens and the “Turn on Sync” button. Mot. 4-5.
     Screenshots are included in the Mardini Decl. § E. The screenshots neither contain misrepresentations
26   nor suggest that not enabling Sync prevents all data transmissions to Google.
     28
27      Dkt. 340-17 (John Rep.) at 6-7; Dkt. 340-28 ¶ 28; Ex. 23 (Turow Tr.) at 303:4-11, 305:4-306:6; Ex.
     24 (John Tr.) at 121:19-121:12, 122:3-6, 125:11-19, 126:13-17, 250:7-9, 258:13-15, 278:24-279:3.
28
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 1   predominance requirements for their Larceny29 and UCL claims.30

 2          D.      Plaintiffs Fail to Proffer a Viable Classwide Damages Model

 3          Plaintiffs bear the burden to (1) proffer a damages model that “identifies the damages that are

 4   the result of the wrong,” (2) “establish that damages are susceptible of measurement across the entire

 5   class,” and (3) show that “[q]uestions of individual damage calculations” will not “overwhelm

 6   questions common to the class.” Comcast Corp. v. Behrend, 569 U.S. 27, 34-7 (2013).31 As explained

 7   in Google’s Motion to Strike Dr. Mangum’s Opinions (“Mangum Daubert”), and in the Expert Report

 8   of Bruce Strombom (attached as Ex. 4), Plaintiffs fail to meet this burden. Further, Plaintiffs’ proffered

 9   damages methodology would compensate millions of class members who are uninjured because they

10   either consented to, or were not subject to, the Data collection. This would run against Supreme Court

11   precedent requiring that “[e]very class member must have Article III standing in order to recover

12   individual damages.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021).

13          Unjust Enrichment/Disgorgement. These remedies are not available for any claim at issue. See

14   Mangum Daubert § IV.A. Certification cannot be justified under an inapplicable theory of recovery.

15   In all events, Dr. Mangum does not offer a reliable method to calculate such damages on a classwide

16   29
        Plaintiffs seek certification of a Rule 23(c)(4) issues class for their larceny claim, contending that
17   liability can be determined class wide while acknowledging that damages would have to be addressed
     individually. Mot. 17. But, as shown above, liability also raises individualized issues—such as
18   whether class members expressly or impliedly consented, and whether class members relied on the
     CPN statements on which Plaintiffs’ larceny by false pretense claim is based.
19   30
        Plaintiffs incorrectly assert (Mot. 18) that “[i]ndividualized proof of deception, reliance, and injury
     is not required” for a UCL claim. Although courts sometimes apply a presumption of reliance by
20   absent class members, the named plaintiffs must prove they “actually saw or heard Google’s
     advertising campaign.” Woods v. Google, Inc., 2017 WL 4310765, at *3 (N.D. Cal. Sept. 28, 2017).
21   Nor does the presumption apply where, as here, “many class members were never exposed to the
     allegedly misleading statements” or where “class members were exposed to quite disparate
22   information.” Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 595-96 (9th Cir. 2012) (“[C]ommon
     questions of fact do not predominate where an individualized case must be made for each member
23   showing reliance.”). “[T]he relevant class must be defined in such a way as to include only members
     who were exposed to advertising that is alleged to be materially misleading.” Id. at 596.
24   31
        See also Buckeye Tree Lodge & Sequoia Vill. Inn, LLC v. Expedia, Inc., 2019 WL 1170489, at *5
25   (N.D. Cal. Mar. 13, 2019) (denying certification where “plaintiffs failed to proffer a model or a
     legitimate theory for how those damages would be estimated, let alone disseminated among class
26   members”) (citing Comcast); Opperman, 2016 WL 3844326, at *14-15 (declining to certify class
     where “[n]o damages number arising from [expert’s] model will apply to all class members); Brazil
27   v. Dole Packaged Foods, LLC, No. 2014 WL 5794873, at *14 (N.D. Cal. Nov. 6, 2014) (“damages
     model fails to provide a means of showing damages on a class-wide basis through common proof”).
28
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 1   basis. Using certain improper assumptions, see Strombom Rep. § IV.C, Dr. Mangum arrives at a

 2   “revenue premium” allegedly attributable to Google’s Data collection across the entire class. Mangum

 3   Rep. ¶ 60. Dr. Mangum maintains a single unjust enrichment amount can then be calculated to

 4   compensate a given class member. Mangum Rep. ¶ 64. But Dr. Mangum’s only proposed method is

 5   to compensate class members based on “Google [A]ccount months,” which (1) fails to compensate

 6   the millions of non-Google Account holder class members, (2) would over or under compensate any

 7   given Google Account holder because Google’s profits vary widely based on diverse user

 8   characteristics and tools they may have used to prohibit Google’s collection or use of Data, and (3)

 9   would compensate uninjured class members (e.g., those who consented). Mangum Daubert §§ IV.B,

10   D; see also § II.G, supra. Dr. Mangum acknowledges the variability, but claims it can be addressed

11   at the “claims administration” stage with questionnaires. Ex. 27 (Mangum Tr.) 82:1-9; 272:11-273:5;

12   307:14-23. It cannot. Merely “sending each class member a questionnaire, having them complete it,

13   and having someone read and analyze it to determine the appropriate damage award for each class

14   member” fails to show that classwide damages can “feasibly and efficiently be calculated.”

15   Opperman, 2016 WL 3844326, at *15.

16          Restitution.32 Restitution is unavailable where, as here, Plaintiffs admit they paid no money to

17   Google, the Data is not their property, and even if it were, it could not be reliably valued for all class

18   members. See Mangum Daubert §§ IV.A, C. Plaintiffs contend (Mot. 22) that restitution “can be

19   quantified through common accounting practices, including Google’s own,” but neither they nor their

20   experts identify any such practice. Dr. Mangum concludes that a single monthly restitution amount

21   (anywhere from $1.11 to $26) can apply to any given Google Account, but these amounts are

22   untethered to any particular class member’s experience and derived from data not comparable to the

23   circumstances here. Strombom Rep. § IV.D; Mangum Daubert § IV.C. The opinion that a single

24

25
     32
        To the extent that Plaintiffs seek “benefit of the bargain” damages, such damages are unavailable
     because Plaintiffs paid nothing to use the (free) Chrome browser. Huynh v. Quora, Inc., 2019 WL
26   11502875, at *10 (N.D. Cal. Dec. 19, 2019) (“[T]he lost benefit of the bargain is not sufficient to
     allege damages because Plaintiffs have not shown that they paid anything for the asserted privacy
27   protections”); Svenson v. Google Inc., 65 F. Supp. 3d 717, 724 (N.D. Cal. 2014) (benefit of bargain
     theory of damages defective because defendant’s services were free). See Mangum Daubert at 10-11.
28
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 1   restitution amount can apply also goes against the record because it ignores that the type and amount

 2   of Data Google allegedly received widely varies among users and that, as Plaintiffs’ consumer

 3   expectations experts admit, users do not value their privacy equally. In Opperman, the court rejected

 4   this approach because “consumers do not have identical preferences, each class member will place a

 5   very different value on the protection of” the data. 2016 WL 3844326, at *14-15.

 6          Statutory Damages Under CIPA. CIPA “statutory damages are not to be awarded

 7   mechanically.” Campbell, 315 F.R.D. at 268. Rather, for each class member, an appropriate award

 8   must consider the number and severity of the violations, the extent of any intrusion into an individual’s

 9   privacy, and whether there was actual damage. Id. Such inquiries must be individualized because class

10   members used many different tools that affect the categories and amount of Data Google receives.

11   See § II.G, supra. Whether any of the Data Google received from a class member is “content” under

12   CIPA also varies. See § III.C.4, supra. Therefore, the number of alleged “violations” and the extent

13   of the alleged intrusion into each user’s privacy varies considerably from user to user. See Campbell,

14   315 F.R.D. at 268-69. Moreover, as in Campbell, here many class members, such as those who

15   infrequently use Chrome, or who mainly use Chrome in Sync mode, have suffered little, if any harm,

16   and thus a statutory damages award would be a disproportionate penalty. See id. Plaintiffs offer no

17   method for assessing a CIPA award that would fairly compensate each class member for only the

18   “violations” he/she experienced. See Strombom Rep. § V.

19          Nominal, General, and Punitive Damages. These types of damages are only available for

20   Plaintiffs’ intrusion upon seclusion claim. In any event, none of these damages could be fairly imposed

21   on a group basis here, where Plaintiffs’ class is so broadly-defined that it would sweep in millions of

22   uninjured Chrome users—such as those who consented (see supra §II.C-E.) and those whose

23   “personal information” was not received (see supra § II.G.). See Mangum Daubert § IV.B;

24   TransUnion, 141 S. Ct. at 2200 (reversing class damages award where only some of the class members

25   had standing); Zakaria v. Gerber Prod. Co., 755 F. App’x 623, 625 (9th Cir. 2018) (“It is a well-

26   settled rule that there can be no award of punitive damages without a finding of actual damages.”);

27   Brazil, 2014 WL 5794873, at *14 (“no authority to suggest that a damages class should remain

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 1   certified solely because nominal damages may be available”).33

 2          E.      Plaintiffs Fail to Satisfy Rule 23(b)(3)’s Superiority Requirement

 3          Rule 23(b)(3) requires that class treatment be a superior way to resolve the dispute. A court’s

 4   considerations should include “the difficulties likely to be encountered in the management of a class

 5   action.” Fed. R. Civ. P. 23(b)(3)(A)-(D). Manageability is “by [] far the most critical concern” in

 6   determining superiority. 2 Newberg on Class Actions § 4:72 (5th ed.) (citing cases).

 7          A class action is not superior here because much of the class cannot be identified. See Fed. R.

 8   Civ. P. 23(b)(3); see also Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1128 (9th Cir. 2017)

 9   (ascertainability of class members should be addressed as an issue of manageability). 34 Millions of

10   Chrome users operate in the default “Basic” mode and are not signed into a Google Account (if they

11   even have one) while browsing. The Data Google receives when these users visit the Services is

12   associated at most with a pseudonymous ID set in a delete-able cookie.35 Monsees Decl. §§ A-B.

13   Google cannot identify them. Id.; Berntson Decl. ¶¶ 27-32; Zervas Rep. §§ III.A.4, III.B.2. Indeed,

14   Google has no information that could be used to identify Chrome users who do not have Google

15   Accounts—they have not provided Google their name, email address, or other contact information.

16   And as for Google Account holders who used Chrome while signed out of their Accounts, Google

17   designed its systems to ensure these users are not identified. Monsees Decl. §§ A-B. Plaintiffs’

18   assertion that their expert Mr. Smith can identify them is false—Smith admitted his methods would

19

20
     33
        Plaintiffs’ request for an injunctive relief class should be denied as no more than an excuse to seek
     punitive money damages. Certification under Rule 23(b)(2) is inappropriate where the “primary intent
21   in this litigation is to recover damages for past conduct.” In re Flash Memory Antitrust Litig., 2010
     WL 2332081, at *7 (N.D. Cal. June 9, 2010); Wal-Mart, 564 U.S. at 360. The Court need look no
22   further than the FAC to determine that it is injunctive relief, not monetary damages, which is
     “incidental” in this case. See Herskowitz v. Apple, Inc., 301 F.R.D. 460, 481 (N.D. Cal. 2014) (Rule
23   23(b)(2) certification not appropriate unless monetary relief sought is incidental to injunctive relief).
     Nor does the Motion specify the injunctive relief Plaintiffs seek, and the complaint seeks relief that
24   either does not redress the alleged harm or is too vague to enforce. See FAC § VIII.C.
     34
        See also Pierce v. Cnty. of Orange, 526 F.3d 1190, 1200 (9th Cir. 2008) (no abuse of discretion in
25   decertifying class; “Rule 23(b)(3) would not offer a superior method for fair and efficient adjudication
     in light of expected difficulties identifying class members”); Roley, 2020 WL 8675698, at *5 (“the
26   class definition [must] be definite enough so that it is administratively feasible for the court to
     ascertain whether an individual is a member before trial, and by reference to objective criteria”).
27   35
        Some services do not even associate the Data with cookies. See, e.g., Crossland Decl. ¶ 10.
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 1   apply only to users signed-in to their browser. Ex. 25 (Smith Tr.) at 116:16-118:20. And Mr. Shafiq

 2   has conceded that his methodology for identifying class members is speculative and depends on

 3   “gather[ing] more knowledge” about Google “source code.” Id. Ex. 26 (Shafiq Tr.) at 218:6-11. The

 4   Court has ruled that source code will not be produced in this case. Dkt. 377 at 2-3.

 5          Self-reporting through claims forms or affidavits is no solution because Google has no system

 6   or information that could be used to confirm an individual’s membership in the class and users have

 7   incentives to make false claims. See In re Hulu Priv. Litig., 2014 WL 2758598, at *14-23 (N.D. Cal.

 8   June 17, 2014) (rejecting self-reporting in case alleging improper transmission of personal data to

 9   Facebook because claims turned on factors such as “whether the user remained logged into Facebook,

10   cleared cookies, or used ad-blocking software,” and asking users to confirm such details would be

11   “prone to subjective memory problems” and damages of $2,500 per class member would “create

12   incentives for claimants.”).

13          A class action also is not superior because Plaintiffs do not proffer a method to excise

14   uninjured class members—those who expressly or impliedly consented, and those who used privacy

15   tools to prevent the harms alleged—from the broad putative class. See TransUnion, 141 S. Ct. at 2208.

16          F.      Plaintiffs Fail to Provide a Workable Trial Plan—Because None Is Possible

17          The premise of class treatment is that the claims and defenses are sufficiently fungible that

18   named plaintiffs can stand as fair proxies for all class members—both in that absent class members’

19   interests will not be impinged by vulnerabilities of the named plaintiffs, and that trial of the named

20   plaintiffs’ claims allows the defendant to assert and offer evidence supporting all defenses that apply

21   to absent class members’ claims. Wal-Mart, 564 U.S. at 350-51.

22          The Ninth Circuit has emphasized the import of a viable trial plan when assessing certification.

23   See Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1190 (9th Cir. 2001) (affirming denial of

24   certification because “there was no manageable trial plan adequate to deal with individualized

25   issues”); Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996) (certification without

26   a “showing by Plaintiffs of how the class trial could be conducted” is abuse of discretion).

27          A fair “trial by proxy” is impossible here given how trial of the named Plaintiffs’ claims would

28
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 1   proceed if the Court denies summary judgment. A jury could conclude the Plaintiffs’ claims fail

 2   because they selected “I AGREE” on the Account Holder Agreements, or because they did not read

 3   the CPN on which their claims are based. Many absent class members are not subject to those same

 4   vulnerabilities—e.g., Chrome users who were not shown the Account Holder Agreements, or who did

 5   review the CPN. In addition, millions of absent class members have Google Accounts, and millions

 6   do not. For those that do, if they consented, the Data was associated with their Accounts—where they

 7   could review it and see that using Chrome without Sync does not prevent the challenged Data

 8   collection. For those that did not consent, or do not have Accounts, the Data was associated at most

 9   with a pseudonymous ID set in a delete-able cookie (not their identities), and Google took steps to

10   ensure the Data was not linked to their identities. Further, many Google Account holders turned Ads

11   Personalization off and thus do not have a claim for the allegedly “unjust profits” Plaintiffs seek. And

12   as Plaintiffs’ experts concede, many Chrome users used third-party cookie blockers that prevent cross-

13   site tracking, VPNs that conceal IP addresses, and other privacy tools that prevent the Data collection.

14   These various groups are differently situated from each other, and subject to different arguments and

15   defenses, depending on the claim.

16          Plaintiffs neither offer a trial plan that grapples with these issues nor explain how a class

17   verdict could be rendered that satisfies due process to absent class members and to Google. See, e.g.,

18   Badella v. Deniro Mkt’g LLC, 2011 WL 5358400, at *13 (N.D. Cal. Nov. 4, 2011) (denying class

19   certification in part because of “Plaintiff’s lack of any suggestions, much less a plan, as to how the

20   Court should manage this large proposed nationwide class action”); Marlo v. United Parcel Serv.,

21   Inc., 251 F.R.D. 476, 487 (C.D. Cal. 2008) (decertifying a class and finding that a party has a

22   “responsibilit[y] to articulate a clear trial plan when requested”); In re Paxil Litig., 212 F.R.D. 539,

23   544 (C.D. Cal. 2003) (plaintiffs “failed to demonstrate that a manageable trial plan exist[ed] that

24   would make a class action lawsuit feasible”). In short, the putative class is simply too broad, too

25   diverse, and comprised of members with too many conflicting interests, to be certified.

26   IV.    CONCLUSION

27          Class certification should be denied.

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     DATED: December 22, 2021             Respectfully submitted,
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